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Title 3-                       Executive Order 14246 of March 25, 2025

The President                  Addressing Risks From Jenner & Block

                               By the authority vested in me as President by the Constitution and the
                               laws of the United States of America, it is hereby ordered:
                               Section 1. Background. My Administration is committed to addressing the
                               significant risks associated with law firms, particularly so-called "Big Law"
                               firms, that engage in conduct detrimental to critical American interests.
                               Many firms take actions that threaten public safety and national security,
                               limit constitutional freedoms, degrade the quality of American elections,
                               or undermine bedrock American principles. Moreover, law firms regularly
                               conduct this harmful activity through their powerful pro bona practices ,
                               earmarking hundreds of millions of their clients' dollars for destructive
                               causes, that often directly or indirectly harm their own clients. Lawyers
                               and law firms that engage in such egregious conduct should not have access
                               to our Nation's secrets, nor should such conduct be subsidized by Federal
                               taxpayer funds or contracts.
                               Jenner & Block LLP (Jenner) is yet another law firm that has abandoned
                               the profession's highest ideals, condoned partisan "lawfare," and abused
                               its pro bona practice to engage in activities that undermine justice and
                               the interests of the United States. For example, Jenner engages in obvious
                               partisan representations to achieve political ends , supports attacks against
                               women and children based on a refusal to accept the biological reality
                               of sex, and backs the obstruction of efforts to prevent illegal aliens from
                               committing horrific crimes and trafficking deadly drugs within our borders.
                               Moreover, Jenner discriminates against its employees based on race and
                               other categories prohibited by civil rights laws, including through the use
                               ofrace-based "targets."
                               In addition, Jenner was "thrilled" to re-hire the unethical Andrew Weissmann
                               after his time engaging in partisan prosecution as part of Robert Mueller's
                               entirely unjustified investigation. Andrew Weissmann's career has been root-
                               ed in weaponized government and abuse of power, including devastating
                               tens of thousands of American families who worked for the now defunct
                               Arthur Andersen LLP, only to have his unlawfully aggressive prosecution
                               overturned by the Supreme Court. The numerous reports of Weissmann's
                               dishonesty, including pursuit of nonexistent crimes, bribery to foreign nation-
                               als, and overt demand that the Federal Government pursue a political agenda
                               against me, is a concerning indictment of Jenner's values and priorities.
                               Sec. 2. Security Clearance Review. (a) The Attorney General, the Director
                               of National Intelligence, and all other relevant heads of executive departments
                               and agencies (agencies) shall immediately take steps consistent with applica-
                               ble law to suspend any active security clearances held by individuals at
                               Jenner pending a review of whether such clearances are consistent with
                               the national interest.
                                  (b) The Office of Management and Budget shall identify all Government
                               goods, property, material, and services, including Sensitive Compartmented
                               Information Facilities , provided for the benefit of Jenner. The heads of
                               agencies providing such material or services shall, to the extent permitted
                               by law, expeditiously cease such provision.
                               Sec. 3. Contracting. (a) To prevent the transfer of taxpayer dollars to Federal
                               contractors whose earnings subsidize, among other things, activities that
                               are not aligned with American interests, including racial discrimination,
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                              Government contracting agencies shall, to the extent permissible by law,
                              require Government contractors to disclose any business they do with Jenner
                              and whether that business is related to the subject of the Government contract.
                                (b) The heads of agencies shall review all contracts with Jenner or with
                              entities that disclose doing business with Jenner under subsection (a) of
                              this section. To the extent permitted by law, the heads of agencies shall:
                                (i) take appropriate steps to terminate any contract, to the maximum
                                extent permitted by applicable law, including the Federal Acquisition
                                Regulation, for which Jenner has been hired to perform any service; and
                                (ii) otherwise align their agency funding decisions with the interests of
                                the citizens of the United States; with the goals and priorities of my
                                Administration as expressed in executive actions, especially Executive
                                Order 14147 of January 20, 2025 (Ending the Weaponization of the Federal
                                Government); and as heads of agencies deem appropriate. Within 30 days
                                of the date of this order, agencies shall submit to the Director of the
                                Office of Management and Budget an assessment of contracts with Jenner
                                or with entities that do business with Jenner effective as of the date
                                of this order and any actions taken with respect to those contracts in
                                accordance with this order.
                              Sec. 4. Racial Discrimination. Nothing in this order shall be construed
                              to limit the action authorized by section 4 of Executive Order 14230 of
                              March 6, 2025 (Addressing Risks from Perkins Coie LLP).
                             Sec. 5. Personnel. (a) The heads of agencies shall, to the extent permitted
                             by law, provide guidance limiting official access from Federal Government
                             buildings to employees of Jenner when such access would threaten the
                             national security of or otherwise be inconsistent with the interests of the
                             United States. In addition, the heads of agencies shall provide guidance
                             limiting Government employees acting in their official capacity from engaging
                             with Jenner employees, including but not limited to Andrew Weissmann,
                             to ensure consistency with the national security and other interests of the
                             United States.
                                (b) Agency officials shall, to the extent permitted by law, refrain from
                             hiring employees of Jenner, including but not limited to Andrew Weissmann,
                             absent a waiver from the head of the agency, made in consultation with
                             the Director of the Office of Personnel Management, that such hire will
                             not threaten the national security of the United States.
                             Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                             to impair or otherwise affect:
                                (i) the authority granted by law to an executive department or agency,
                                or the head thereof; or
                                (ii) the functions of the Director of the Office of Management and Budget
                                relating to budgetary, administrative, or legislative proposals.
                                (b) This order shall be implemented consistent with applicable law and
                              subject to the availability of appropriations.
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                                            (c) This order is not intended to, and does not, create any right or benefit,
                                          substantive or procedural, enforceable at law or in equity by any party
                                          against the United States, its departments, agencies, or entities, its officers,
                                          employees, or agents , or any other person.




                                          THE WHITE HOUSE,
                                          March 25, 2025.


[FR Doc . 20 25-055 19
Filed 3- 27- 25; 8 :45 am]
Billing code 3395-F4-P
